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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

U.S. EQUAL EMPLOYMENT                      :   CIVIL ACTION NO. 1:18-CV-1539
OPPORTUNITY COMMISSION,                    :
                                           :   (Chief Judge Conner)
                    Petitioner             :
                                           :
             v.                            :
                                           :
SERVICE TIRE TRUCK CENTERS,                :
                                           :
                    Respondent             :

                                  MEMORANDUM

      Petitioner U.S. Equal Employment Opportunity Commission (“EEOC”) filed

an application (Doc. 1) to enforce its administrative subpoena. Respondent Service

Tire Truck Centers (“Service Tire”) challenges portions of the subpoena as seeking

irrelevant information and being unduly burdensome. We will grant in part and

deny in part the EEOC’s application.

I.    Factual Background & Procedural History

      In July 2017, Jennifer L. Henderson (“Henderson”) filed a charge of

discrimination with the EEOC and the Pennsylvania Human Relations Commission

against Service Tire. (Doc. 1-2, Decl. of Dilip Gokhale (“Gokhale Decl.”), Ex. 2).

Henderson alleged that Service Tire discriminated against her on the basis of

gender and pregnancy, in violation of Title VII of the Civil Rights Act of 1964, 42

U.S.C. §§ 2000e to 2000e-17, when it denied her a promotion to a sales position. (Id.)

Henderson later amended the charge to include a claim under the Equal Pay Act of

1963, 29 U.S.C. § 206(d), asserting that Service Tire paid her less than male

employees performing comparable work. (Gokhale Decl., Ex. 3).
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      The EEOC served Service Tire with the amended charge and simultaneously

requested a “Position Statement” that explained Service Tire’s legal and factual

defenses to the discrimination claim. (Id., Ex. 5 at 2-3). The same day, the EEOC

made its first request for information (“RFI”) from Service Tire, seeking, inter alia,

personnel documents, employee and supervisor information, salary details,

company policies, and correspondence related to the charge. (Id., Ex. 5 at 4-7).

Service Tire requested several extensions to respond to the amended charge, which

the EEOC granted. (Id., Exs. 6-9). Service Tire eventually provided a late-filed

position statement in January 2018 but did not respond to the RFI. (Id., Ex. 10).

      The EEOC followed up with Service Tire several times regarding the RFI.

(Id., Exs. 11-12). Despite claiming that a reply was forthcoming, Service Tire never

responded. (Id. ¶ (n)). In March 2018, the EEOC served a second RFI, setting a

response deadline of April 9, 2018. (Id., Ex. 14). Service Tire again failed to

respond. (Id. ¶ (q)). Consequently, the EEOC issued a subpoena duces tecum on

May 14, 2018, seeking similar information as requested in the RFIs and setting a

response deadline of June 4, 2018. (Id., Ex. 15). On June 4, 2018, Service Tire finally

responded to the EEOC’s requests. (Id., Ex. 17). However, the majority of Service

Tire’s responses contained formulaic objections claiming that the requests were

“overly broad, unduly burdensome,” and “seeking information that is not

reasonably calculated to lead to discovery of admissible evidence.” (Id., Ex. 17 at 3-

9).

      The EEOC did not contact Service Tire regarding the incomplete June 4

subpoena response. (Doc. 12 at 3). On August 3, 2018, the EEOC instead filed an
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application in this court seeking a show-cause order as to why the EEOC’s

administrative subpoena should not be enforced, and further seeking enforcement

of the subpoena. The court ordered Service Tire to show cause, and the parties

have fully briefed the subpoena-enforcement issue, which is ripe for disposition.

II.   Legal Standard

      Section 2000e-5 of Title 42 of the United States Code empowers the EEOC to

investigate charges of employment discrimination. 42 U.S.C. § 2000e-5(b). As part

of its investigatory authority, the EEOC may issue administrative subpoenas to

employers and may seek enforcement of those subpoenas in federal district court.

See id. §§ 2000e-5(f)(3), 2000e-8, 2000e-9 (incorporating 29 U.S.C. § 161); 29 C.F.R.

§ 1601.16(a). To obtain court enforcement of an administrative subpoena, the EEOC

must establish that (1) the investigation is for a legitimate purpose, (2) the subpoena

seeks information relevant to that purpose, (3) the EEOC does not already possess

the requested information, (4) the EEOC has complied with requisite administrative

procedures, and (5) the EEOC’s demand is not “unreasonably broad or

burdensome.” E.E.O.C. v. Kronos Inc., 620 F.3d 287, 296 n.4 (3d Cir. 2010) (quoting

Univ. of Med. & Dentistry of N.J. v. Corrigan, 347 F.3d 57, 64 (3d Cir. 2003)).

      The EEOC is entitled to access evidence that is “relevant to the charge under

investigation.” Id. (quoting 42 U.S.C. § 2000e-8(a)). The relevance requirement for

an EEOC investigation has been construed broadly and is “not particularly

onerous.” Id. As the Supreme Court has repeatedly admonished, the term

“relevant” should “be understood ‘generously’” and afford the EEOC access to

“virtually any material that might cast light on the allegations against the
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employer.” McLane Co. v. E.E.O.C., 581 U.S. __, 137 S. Ct. 1159, 1169 (2017)

(quoting E.E.O.C. v. Shell Oil Co., 466 U.S. 54, 68-69 (1984)). The burden of

demonstrating relevance rests with the EEOC. Kronos Inc., 620 F.3d at 297 (citation

omitted).

III.   Discussion

       The EEOC first contends that Service Tire’s failure to petition to revoke or

modify the subpoena acts as a waiver to any objections to the subpoena’s

enforcement. The EEOC further argues that even if the court reaches the merits of

Service Tire’s objections, the subpoena requests are relevant to the underlying

discrimination charge. Service Tire counters that it did not waive objections to the

subpoena, that many of the EEOC’s requests are irrelevant or unduly burdensome,

and that if the court requires compliance with the subpoena, a confidentiality order

is necessary to protect the sensitive information requested. We will address these

issues seriatim.

       A.    Waiver of Right to Challenge Subpoena Due to Failure to Exhaust
             Administrative Remedies

       The EEOC points to 29 U.S.C. § 161 and corresponding regulations to argue

that Service Tire’s failure to properly seek a revocation or modification of the

subpoena bars any challenge to the subpoena in court-enforcement proceedings. In

particular, 29 C.F.R. § 1601.16(b)(1) states that “any person served with a subpoena

who intends not to comply shall petition” the EEOC “to seek its revocation or

modification . . . within five days . . . after service of the subpoena.” 29 C.F.R.

§ 1601.16(b)(1) (emphasis added). The EEOC contends that because Service Tire


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did not timely or properly petition for revocation or modification as set forth in

Section 1601.16(b), it cannot now challenge the subpoena in this court. We

disagree. Under the circumstances in the case sub judice, we find that Service Tire

has not waived its objections to the subpoena.

      Whether exhaustion applies in the context of challenging an administrative

subpoena was directly addressed in E.E.O.C. v. Lutheran Social Services, 186 F.3d

959 (D.C. Cir. 1999).1 There, an employer objected to an administrative subpoena on

the grounds of attorney-client privilege and the work product doctrine, but failed to

follow the express requirements of Section 1601.16(b)(1). Lutheran, 186 F.3d at 960,

961. The EEOC claimed the employer had thus waived any objection to the

subpoena. Id. at 961. The Lutheran court first noted the difference in the

permissive language of 29 U.S.C. § 161(1)—“within five days after service of the

subpoena . . . such person may petition” the EEOC to revoke the subpoena—and the

mandatory “shall petition” phrasing of the regulation. Lutheran, 186 F.3d at 962

(quoting 29 U.S.C. § 161(1) (emphasis added)). The court concluded that the

regulation could not override the express statutory language and therefore did not

“strip federal courts of authority to determine whether the subpoena the agency

seeks to enforce is lawful.” Id. at 962. This holding, nevertheless, did not divest

Section 1601.16(b)(1) of its “legal bite” because that regulation’s “mandatory

language creates a strong presumption that issues parties fail to present to the

      1
        It does not appear that the Third Circuit has considered this question.
See E.E.O.C. v. City of Long Branch, 866 F.3d 93, 98, 100 (3d Cir. 2017) (finding
administrative exhaustion issue “compelling” and “interesting” but not reaching
merits due to procedural errors below). In the absence of Third Circuit guidance,
we find the ratio decidendi of Lutheran to be persuasive.
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agency will not be heard in court.” Id. at 964 (emphasis added) (citation omitted).

The court cautioned that in the “more typical situation” where an employer’s

objections are based on relevance or particularity, factors expressly listed in 29

U.S.C. § 161(1) and in which the EEOC has “considerable expertise,” administrative

exhaustion may be required. Id. at 965.

      Both parties contend that Lutheran supports their respective positions. The

EEOC argues that the facts in the instant case represent the exact situation the

Lutheran court warned would implicate the exhaustion requirement. That is,

because Service Tire objects to the subpoena on relevance and particularity

grounds, it should have complied with Section 1601.16(b)(1) and cannot now object

in federal court. Service Tire broadly counters that Lutheran and its progeny stand

for the proposition that “not filing a petition to revoke or modify the subpoena with

the EEOC does not act as a waiver of objections.” (Doc. 12 at 6). Neither party is

entirely correct.

      Service Tire misreads Lutheran. Lutheran does not reduce Section

1601.16(b) to a nullity. Per contra, Lutheran provides that in normal circumstances,

objections to an administrative subpoena on grounds within the purview of the

EEOC should be raised first with the EEOC in compliance with the regulation. But

whether failure to properly seek administrative remedies bars an objection to the

subpoena in federal court is a fact-specific analysis that considers (1) content of the

subpoena and related agency communication regarding statutory and regulatory

compliance, (2) grounds of the objection, and (3) when and how the objection is

raised and addressed. Lutheran, 186 F.3d at 964-67.
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      Analysis of these factors demonstrates how the EEOC’s argument misses the

mark. Neither the EEOC’s subpoena nor related email to Service Tire specifically

references any statute or regulation that concerns petitioning the EEOC to modify

or revoke the subpoena within five days. (See Gokhale Decl., Ex. 15). Granted, the

subpoena mentions that it is “issued pursuant to 42 U.S.C. § 2000e-9,” which statute

references 29 U.S.C. § 161, but even so the language in Section 161 is not

mandatory. If the EEOC desired strict compliance with 29 C.F.R. § 1601.16(b), it

would be exceptionally easy to include this regulation’s text or citation in the

agency’s cover letter, email, or subpoena itself.2 The only response date given to

Service Tire was the June 4, 2018 deadline noted on the face of the subpoena.

      The second factor—the grounds for the objection—certainly cuts in the

EEOC’s favor. Relevance and particularity are squarely within the purview of the

EEOC. See Lutheran, 186 F.3d at 965. The EEOC is well equipped to address such

objections without resort to federal court guidance, and the agency’s views on this

subject would warrant considerable deference. Id.

      But this second consideration is inextricably connected with the third factor,

because Service Tire is not raising its relevance and particularity objections for the

first time in this court. Within the deadline for responding to the subpoena, Service

Tire communicated its objections directly to the EEOC investigator. (See Gokhale

Decl., Ex. 17 at 3-9). The EEOC was fully aware of the objections and thus Service


      2
        We do not imply that the EEOC must take such actions or that counsel does
not need to be cognizant of relevant regulations. It is simply one of the factors to
consider when determining whether to excuse noncompliance with Section
1601.16(b).
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Tire does not face the “strong presumption that issues parties fail to present to the

agency will not be heard in court.” Lutheran, 186 F.3d at 964. Yet rather than

engaging with Service Tire to administratively resolve the challenge, the EEOC

waited for two months and then filed this enforcement action, claiming Service Tire

waived its objections through noncompliance. Such conduct undermines the very

purpose of administrative exhaustion, which is “to allow an administrative agency

to perform functions within its special competence.” Id. at 965 (quoting Parisi

v. Davidson, 405 U.S. 34, 37 (1972)). Considering the totality of the circumstances,

we hold that Service Tire is not barred from asserting its objections to the subpoena

despite noncompliance with Section 1601.16(b). See E.E.O.C. v. Bashas’ Inc., No.

09-CV-209, 2009 WL 3241763, at *6-10 (D. Ariz. Sept. 30, 2009); E.E.O.C. v. WinCo

Foods, Inc., No. S-05-0486, 2006 U.S. Dist. LEXIS 64521, at *9-14 (E.D. Cal. Sept. 8,

2006). But see E.E.O.C. v. City of Long Branch, No. 15-CV-1081, 2018 WL 3104435,

at *2-4 (D.N.J. June 22, 2018), appeal filed, No. 18-2836 (3d Cir. Aug. 15, 2018).

      B.      Service Tire’s Objections to the Subpoena

      We now turn to the merits of Service Tire’s objections. Service Tire contends

that many of the EEOC’s requests are irrelevant.3 We initially note that Service

Tire asks the court to deny the entire application, claiming that the EEOC has not

established relevance for “any” of its subpoena demands. (Doc. 12 at 7). We will

deny this request as it is completely unsupported by the record and withers under

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       Service Tire appears to abandon its “overly burdensome” argument, as
nowhere in its briefing does it discuss or explain how responding to the subpoena
would “seriously disrupt its normal business operations.” See E.E.O.C. v.
Randstad, 685 F.3d 433, 451 (4th Cir. 2012) (quoting E.E.O.C. v. Md. Cup Corp., 785
F.2d 471, 477 (4th Cir. 1986)).
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even a cursory reading of the subpoena and briefing. We will, instead, focus on

respondent’s specific objections: relevancy challenges to subpoena request

numbers 5, 9, 16, and 17.

      For numbers 5, 9, and 17, Service Tire disputes only the breadth of the

request, as the EEOC demands the complete personnel files of Henderson’s

supervisor, the individual who was hired for the job which Henderson sought, and

several comparator employees. Service Tire argues that personnel files contain a

vast amount of sensitive information including tax documents, emergency contacts,

retirement plan information, personal email addresses, family information, and

medical records, much of which would be entirely irrelevant to the instant charge.

The EEOC does not engage with Service Tire’s argument, and instead focuses on

the relevance of the other information requested in numbers 5, 9, and 17, viz.,

“application materials, performance reviews, disciplinary notices, leave requests,

promotion documents, pay records, and discharge paperwork (if applicable).” (See

Gokhale Decl., Ex. 15 at 6, 7).

      We are constrained to agree with Service Tire that the EEOC has not made

the minimal relevance showing necessary to support its wholesale request for

personnel files. There is no doubt that certain documents requested in numbers 5,

9, and 17 (as recited above) are relevant to the instant charge of discrimination in

promotion and pay. Service Tire does not argue to the contrary. But the EEOC has

not explained why entire personnel files are necessary or relevant to its

investigation. Accordingly, we will circumscribe subpoena request numbers 5, 9,

and 17 to exclude the following sensitive information from the requested personnel
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files: medical and healthcare information unrelated to pregnancy, retirement plan

information, names and other identifying details for spouses and dependents,

personal email addresses, copies of social security cards, and tax information

beyond earnings and salary.

      Service Tire also objects to request number 16, which seeks the following

information for all employees at Henderson’s branch: full name, sex, social security

number, job title, supervisor, date of hire, date of separation (if applicable), home

address, and telephone number. Service Tire produced some of this information,

but specifically objects to disclosing the employees’ names, social security numbers,

street addresses (city, state, and zip code were provided), and telephone numbers.

(See id., Ex. 18). The EEOC contends that employees’ names and contact

information are relevant because it must identify and interview coworkers with

potential knowledge of the discrimination allegations and defenses.

      With the exception of social security numbers, we find that the EEOC has

adequately demonstrated relevance for the requested employee information. The

data sought by the EEOC would enable it to interview other employees to

determine if Service Tire treated its employees differently based on gender or

pregnancy, and thus the information “might cast light” on the charge at issue. See

E.E.O.C. v. Sears, Roebuck & Co., 885 F.2d 875, 1989 WL 107831, at *2 (9th Cir. 1989)

(nonprecedential); E.E.O.C. v. Alliance Residential Co., 866 F. Supp. 2d 636, 642-43

(W.D. Tex. 2011). Request number 16, therefore, is modified only insofar as Service

Tire may redact employees’ social security numbers. Service Tire must otherwise

fully respond to request numbers 5, 9, 16, and 17, and to all other remaining
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subpoena requests—as amended by the EEOC, (see Doc. 1 ¶ 8(b); Gokhale Decl., Ex.

19)—not specifically challenged or discussed herein.

       C.     Request for Confidentiality Order

       Service Tire seeks a confidentiality order regarding its responses to request

numbers 5 through 10, 13, 15 through 17, 25, and 29. When a party requests a

confidentiality order, Kronos provides the applicable framework district courts

must apply. E.E.O.C. v. City of Long Branch, 866 F.3d 93, 101 n.6 (3d Cir. 2017).

The party seeking confidentiality bears the burden of establishing good cause for

the order by demonstrating that “disclosure will work a clearly defined and serious

injury to the party seeking closure.” Kronos Inc., 620 F.3d at 302. The court must

balance public interests against private interests by considering such factors as

       (1) whether disclosure will violate any privacy interests;
       (2) whether the information is being sought for a legitimate purpose or
           an improper purpose;
       (3) whether disclosure of the information will cause a party
           embarrassment;
       (4) whether confidentiality is being sought over information important
           to public health and safety;
       (5) whether the sharing of information among litigants will promote
           fairness and efficiency;
       (6) whether a party benefitting from the order of confidentiality is a
           public entity or official; and
       (7) whether the case involves issues important to the public.

Id. (citation omitted).

       A review of these factors leads us to conclude that a confidentiality order is

unwarranted. Initially, we note that for request numbers 5, 9, 16, and 17, we have

restricted the extent of the personal information to be produced to the EEOC.

Disclosure of other information requested in the subpoena may implicate the


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privacy interests of Service Tire and its employees, but production is being made to

the EEOC and not a private party. The EEOC and its agents are expressly

prohibited from disclosing this information to the public on pain of fines and

criminal prosecution. 42 U.S.C. § 2000e-8(e). Service Tire’s concerns about third-

party requests under the Freedom of Information Act are misplaced, because

personnel files and similar personal information are specifically exempted from

disclosure under that statute. See 5 U.S.C. § 552(b)(3), (6). Moreover, Section

552a(b) of Title 5 of the United States Code provides that, except in limited

circumstances, “[n]o agency shall disclose any record which is contained in a

system of records by any means of communication to any person, or to another

agency, except pursuant to a written request by, or with the prior consent of, the

individual to whom the record pertains[.]” 5 U.S.C. § 552a(b).

      Turning to the remaining factors, the information is obviously being sought

for a legitimate purpose—the EEOC’s investigation of a charge of employment

discrimination. Service Tire has not argued that disclosure would cause

embarrassment, nor can we conclude that disclosure of any of the requested

information would be likely to do so. The information being sought by the EEOC is

not necessarily important to public health and safety, which cuts in favor of Service

Tire’s position, but the case involves important public issues of gender and

pregnancy discrimination in the workplace. The beneficiary of the confidentiality

order would be a private employer rather than a public entity or official, which




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favors Service Tire’s argument for confidentiality.4 On balance, we find that most of

the Kronos factors weigh against the issuance of a confidentiality order. We will

therefore deny Service Tire’s request.

IV.   Conclusion

      Under the specific facts of this case, Service Tire did not waive its objections

to the EEOC’s subpoena by failing to strictly comply with 29 C.F.R. § 1601.16(b).

Those objections, however, are limited and we have addressed them herein. The

EEOC’s application to enforce its subpoena will be granted in part and denied in

part as more fully discussed above. Finally, Service Tire has not shown that

disclosure will cause a “clearly defined and serious injury,” so we will deny its

request for a confidentiality order. An appropriate order shall issue.




                                         /S/ CHRISTOPHER C. CONNER
                                         Christopher C. Conner, Chief Judge
                                         United States District Court
                                         Middle District of Pennsylvania


Dated:     October 17, 2018




      4
        Neither party mentioned the remaining factor regarding the sharing of
information between litigants. Because this matter concerns an EEOC
investigation, we find this factor irrelevant to our analysis.
